AO 450 (Rev. 5/85) Judgment in a Civil Case




                       United States District Court
                                       EASTERN DISTRICT OF WISCONSIN


RYAN DEKEYSER, et al., on behalf
of themselves and all others similarly situated,

                               Plaintiffs,
                                                         JUDGMENT IN A CIVIL CASE
                     v.                                     Case No. 08-C-488

WAUPACA FOUNDRY, INC.
f/k/a THYSSENKRUPP WAUPACA, INC.,

               Defendant.
___________________________________________________________________

HOY GARRETT, JR., et al.,

                               Plaintiffs,

                     v.                                      Case No. 18-C-1186

WAUPACA FOUNDRY, INC.,

               Defendant.
___________________________________________________________________

MICHAEL SARRELL, et al., on behalf
of themselves and others similarly situated,

                               Plaintiffs,

                     v.                                      Case No. 18-C-1192

WAUPACA FOUNDRY, INC.,

               Defendant.
______________________________________________________________
     Case 1:08-cv-00488-WCG Filed 01/25/19 Page 1 of 2 Document 748
JASON VANHOOSE, et al., on behalf
of themselves and others similarly situated,

                       Plaintiffs,

               v.                                             Case No. 18-C-1193

WAUPACA FOUNDRY, INC.,

                       Defendant.


☐      Jury Verdict. This action came before the Court for a trial by jury. The issues have been
       tried and the jury has rendered its verdict

☒      Decision by Court. This action came before the Court for consideration of a Motion to
       approve the Settlement Agreement submitted by the parties.

        IT IS HEREBY ORDERED AND ADJUDGED that the Parties’ class-wide Settlement
Agreement in the above-captioned Actions is fair and reasonable and is hereby approved. All of the
claims asserted herein having been finally settled, compromised and resolved, these actions are
dismissed on its merits and with prejudice. The Court shall retain jurisdiction solely for purposes of
post-judgment enforcement of the Settlement Agreement.


                                  Approved:            s/ William C. Griesbach
                                                       William C. Griesbach, Chief Judge
                                                       United States District Court
       Dated: January 25, 2019

                                                      STEPHEN C. DRIES
                                                      Clerk of Court

                                                      s/ Mara A. Corpus
                                                      (By) Deputy Clerk




    Case 1:08-cv-00488-WCG Filed 01/25/19 Page 2 of 2 Document 748
